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The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 7, 2022
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION



      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03004-sgj
      HIGHLAND CAPITAL MANAGEMENT FUND Civ. Act. No. 3:21-cv-00881
      ADVISORS, L.P.,
               Defendant.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,

               Plaintiff.
                                                      Adversary No.: 21-03005-sgj
      v.
                                                      Civ. Act. No. 3:21-cv-00880
      NEXPOINT ADVISORS, L.P., JAMES
                                                      (Consolidated Under Civ. Act. No. 3:21-cv-
      DONDERO, NANCY DONDERO, AND
                                                      00881)
      THE DUGABOY INVESTMENT TRUST,
               Defendants.
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    HIGHLAND CAPITAL MANAGEMENT, L.P.,
         Plaintiff.
    v.                                                   Adversary No. 21-03003-sgj
    JAMES D. DONDERO, NANCY DONDERO,                     Civ. Act. No. 3:21-cv-01010
    AND THE DUGABOY INVESTMENT TRUST,
                                                         (Consolidated Under Civ. Act. No. 3:21-cv-
                                                         00881)
         Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,

         Plaintiff.
                                                         Adversary No.: 21-03006-sgj
    v.
                                                         Civ. Act. No. 3:21-cv-01378
    HIGHLAND CAPITAL MANAGEMENT
                                                         (Consolidated Under Civ. Act. No. 3:21-cv-
    SERVICES, INC., JAMES DONDERO, NANCY
                                                         00881)
    DONDERO, AND THE DUGABOY
    INVESTMENT TRUST,
         Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,

         Plaintiff.
                                                         Adversary No.: 21-03007-sgj
    v.
                                                         Civ. Act. No. 3:21-cv-01379
    HCRE PARTNERS, LLC (n/k/a NEXPOINT
                                                         (Consolidated Under Civ. Act. No. 3:21-cv-
    REAL ESTATE PARTNERS, LLC), JAMES
                                                         00881)
    DONDERO, NANCY DONDERO AND THE
    DUGABOY INVESTMENT TRUST,
         Defendants.


    ORDER: (A) GRANTING DEFENDANTS’ MOTION FOR LEAVE TO SUPPLEMENT
      THEIR ARGUMENT AGAINST PLAINTIFF’S SUPPLEMENTED NOTICE OF
          ATTORNEYS’ FEES; BUT (B) DENYING ANY FURTHER RELIEF
         Came on for consideration the Defendants’ Motion for Leave to Supplement Their

Argument Against Plaintiff’s Supplemented Notice of Attorneys’ Fees (“Defendants’ Motion

for Leave”)1 filed on November 2, 2022. The Defendants’ Motion for Leave relates to the



1
 See Adv. Pro. 21-3003 [DE #216], Adv. Pro. 21-3004 [DE #185], Adv. Pro. 21-3005 [DE #233], Adv. Pro. 21-3006
[DE #238], and Adv. Pro. 21-3007 [DE #233].


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Notices and Backup Documentation for the attorneys’ fees and costs that Plaintiff/Highland

seeks to have awarded as part of its damages in connection with the above-referenced actions.

        Plaintiff/Highland filed its Notice and Backup Documentation for its attorneys’ fees and

costs that Plaintiff/Highland seeks to have awarded as part of its damages in connection with

the above-referenced actions. But then later, Plaintiff/Highland sought leave to supplement its

Backup Documentation with invoices from January and February of 2022 that it had previously

omitted (“January/February Invoices”), apparently due to inadvertence. Defendants objected

to the bankruptcy court granting leave for this supplementation, but the bankruptcy court

overruled and granted leave on October 24, 2022, to allow Plaintiff/Highland to supplement its

attorneys’ fee request with these January/February Invoices.2 Then, in early November, the

bankruptcy court—not having seen the Defendants’ Motion for Leave on the dockets in these

actions3—completed its review of the Notices and Backup Documentation; the Defendants’

original objection thereto; Highland’s Response thereto; and the January/February Invoices.

On November 10, 2022, which was eight days after Defendants filed the Defendants’ Motion

for Leave, the bankruptcy court issued its Supplement to Report and Recommendation Dated July

19, 2022, Transmitting Proposed Forms of Judgment (“November 10, 2022 Supplement to R&R”)

in each of the above actions,4 which was transmitted to the District Court on November 14,

2022.5 The November 10, 2022 Supplement to R&R recommended specific attorneys’ fees and



2
  See Adv. Pro. 21-3003 [DE #212], Adv. Pro. 21-3004 [DE #181], Adv. Pro. 21-3005 [DE # 229], Adv. Pro. 21-3006
[DE #234], and Adv. Pro. 21-3007 [DE #229]. It is Defendants’ specific objections to the reasonableness of the fees
in the Supplemental Invoices that Defendants now seek leave to submit to the court for its consideration.
3
 This was an oversight in a bankruptcy case with multiple adversary proceedings that generate literally thousands of
pages of filings on a regular basis.
4
 Adv. Pro. 21-3003 [DE #217], Adv. Pro. 21-3004 [DE #186], Adv. Pro. 21-3005 [DE #234], Adv. Pro. 21-3006 [DE
#239], and Adv. Pro. 21-3007 [DE #234].
5
 See DCT DE ##80-83, with respect to Adv. Pro. 21-3003 (Civ. Act. No. 3:21-cv-1010), Adv. Pro. 21-3005 (Civ.
Act. No. 21-880), Adv. Pro. 21-3006 (Civ. Act. No. 3:21-cv-1378), and Adv. Pro. 21-3007 (Civ. Act. No. 3:21-cv-


                                                         3
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costs that the bankruptcy court determined were appropriate to award Plaintiff/Highland as part

of its proposed Judgments. The recommended award included attorneys’ fees and costs set

forth in the January/February Invoices.

           On November 17, 2022, Highland filed its Objection to Defendants’ Motion for Leave

to Supplement Their Argument Against Plaintiff’s Supplemented Notice of Attorneys’ Fees

(“Objection”).6 It was at that point that the bankruptcy court realized its oversight in having

missed on the docket the Defendants’ Motion for Leave. The bankruptcy court then reviewed

both Defendants’ Motion for Leave and Highland’s Objection thereto.

           In Defendants’ Motion for Leave, Defendants objected to the reasonableness of

attorneys’ fees set forth in the Plaintiff’s/Highland’s January/February Invoices on the bases

that (a) the rates charged by Plaintiff’s counsel, Pachulski Stang Ziehl & Jones, LLP (“PSZJ”),

are too high, and (b) a PSZJ associate and legal assistant spent an unreasonable amount of time

analyzing two motions and drafting Highland’s responses thereto.

           As to the billing rates, as previously noted in this court’s November 10, 2022 Supplement

to R&R recommending that the District Court overrule Defendants’ objection to PSZJ’s rates

in the Backup Documentation as being too high to be reasonable, “This court has already

approved PSZJ’s rates as reasonable under § 330 and under the applicable standard originally

announced by the Fifth Circuit in Johnson.”7 Moreover, Mr. Dondero (who controls the

Defendants) personally hired PSZJ to be bankruptcy counsel for Highland when he controlled

Highland, and agreed, in writing, to PSZJ’s fee structure and rates. November 10, 2022



1379). The Supplement to R&R with respect to Adv. Pro. 21-3004 (Civ. Act. No. 3:21-cv-881) was transmitted on
December 5, 2022, at DCT DE #89.
6
 Adv. Pro. 21-3003 [DE #221], Adv. Pro. 21-3004 [DE #188], Adv. Pro. 21-3005 [DE #237], Adv. Pro. 21-3006 [DE
#244], and Adv. Pro. 21-3007 [DE #238].
7
    See Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).


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Supplement to R&R, p. 16. The rates charged by PSZJ are reasonable when evaluated under the

applicable lodestar factors and other appropriate legal standards. Among other things, the

billing rates are reasonable when evaluated in the relevant market of firms that provide legal

services in complex chapter 11 cases (both in Texas and other major markets). Notably, this has

been a bankruptcy case of a multibillion-dollar enterprise with well over a billion dollars of

claims asserted. The above-referenced actions involve tens of millions of dollars.

       As to the time spent by PSZJ’s associate and legal assistant on two specific motions and

Plaintiff’s/Highland’s responses thereto, the bankruptcy court has reviewed once again these

time entries and does not consider the time spent on these tasks to have been excessive. Most

of the pleadings filed in the above-referenced actions have been lengthy and dense with

footnotes, legal authority, and record references, and often have attached appendices of

hundreds or thousands of pages. The bankruptcy court itself has spent hundreds of hours on

these matters, so the bankruptcy court does not view the time spent by PSZJ’s associate and

legal assistant on the two matters in the January/February Invoices identified by Defendants as

excessive – by comparison. Accordingly,

       IT IS ORDERED that the Defendants’ Motion for Leave be, and hereby is, granted.

       IT IS FURTHER ORDERED that the bankruptcy court has determined that there is no

need to amend its recommendations to the District Court in the November 10, 2022 Supplement

to R&R. To be clear, the bankruptcy court has considered the merits of Defendants’ specific

objections raised in the Defendants’ Motion for Leave filed November 2, 2022 to the

January/February Invoices and has decided that those objections should be overruled.

                                    ### End of Order ###




                                               5
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03007-sgj
HCRE Partners, LLC (n/k/a NexPoint Real,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 07, 2022                                               Form ID: pdf001                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 09, 2022:
Recip ID                 Recipient Name and Address
aty                    + Jeremy A. Root, Stinson LLP, 230 W. McCarty Street, Jefferson City, MO 65101-1553

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Dec 07 2022 21:59:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Dec 07 2022 21:59:00      United States Trustee - AU12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 09, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 7, 2022 at the address(es) listed
below:
Name                               Email Address
Deborah Rose Deitsch-Perez
                                   on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
                                   patricia.tomasky@stinson.com;kinga.mccoy@stinson.com
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District/off: 0539-3                                          User: admin                                                           Page 2 of 2
Date Rcvd: Dec 07, 2022                                       Form ID: pdf001                                                      Total Noticed: 3
Deborah Rose Deitsch-Perez
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Nancy Dondero deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Douglas S. Draper
                             on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Greta M. Brouphy
                             on behalf of Defendant The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com

Juliana Hoffman
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                             txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Leslie A. Collins
                             on behalf of Defendant The Dugaboy Investment Trust lcollins@hellerdraper.com

Matthew A. Clemente
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Melissa S. Hayward
                             on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael P. Aigen
                             on behalf of Defendant Nancy Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Michael P. Aigen
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) michael.aigen@stinson.com,
                             stephanie.gratt@stinson.com

Michael P. Aigen
                             on behalf of Defendant James Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Paige Holden Montgomery
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                             txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                             ce@sidley.com

Zachery Z. Annable
                             on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 15
